19-08246-rdd          Doc 61      Filed 05/16/19        Entered 05/16/19 16:00:10                  Main Document
                                                       Pg 1 of 11


    IN THE UNITED STATES BANKRUPTCY COURT
    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                                             )
    In re:                                                                   )     Chapter 11
                                                                             )
    WINDSTREAM HOLDINGS, INC., et al.,1                                      )     Case No. 19-22312 (RDD)
                                                                             )
                             Debtors.                                        )     (Jointly Administered)
                                                                             )
                                                                             )
    WINDSTREAM HOLDINGS, INC., et al.,                                       )
                                                                             )
                             Plaintiffs,                                     )     Adv. Pro. No. 19-08246
                                                                             )
    vs.                                                                      )
                                                                             )
    CHARTER COMMUNICATIONS, INC. and                                         )
    CHARTER COMMUNICATIONS OPERATING, LLC,                                   )
                                                                             )
                             Defendants.                                     )
                                                                             )

      PRELIMINARY INJUNCTION AGAINST CHARTER COMMUNICATIONS, INC.
              AND CHARTER COMMUNICATIONS OPERATING, LLC

             This matter is before the Court on the motion (the “Motion”)2 of the debtors and debtors

in possession in the above-captioned Chapter 11 cases (collectively, the “Debtors”) for the

issuance and entry of a preliminary injunction order pursuant to Section 105(a) of Title 11 of the

United States Code (as amended, the “Bankruptcy Code”), 15 U.S.C. § 1125(a), Rule 65 of the

Federal Rules of Civil Procedure, made applicable to this adversary proceeding by Rule 7065 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 9077-1 of the Local

Rules of the Bankruptcy Court for the Southern District of New York (the “Local Rules”), and


1
  The last four digits of Debtor Windstream Holdings, Inc.’s tax identification number are 7717. Due to the large
number of debtor entities in these Chapter 11 cases, for which the Debtors have requested joint administration, a
complete list of the debtor entities and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the Debtors’ proposed claims and
noticing agent at http://www.kccllc.net/windstream. The location of the Debtors’ service address for purposes of
these chapter 11 cases is: 4001 North Rodney Parham Road, Little Rock, Arkansas 72212.
2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
19-08246-rdd     Doc 61     Filed 05/16/19    Entered 05/16/19 16:00:10          Main Document
                                             Pg 2 of 11


this Court’s Final Order Establishing Certain Notice, Case Management and Administrative

Procedures [Main Case Docket No. 392] (the “Case Management Order”). This Court having

already entered a Temporary Restraining Order against Charter Communications, Inc. and

Charter Communications, LLC (collectively, “Charter”) on April 16, 2019 [Adv. Docket No. 25]

(the “TRO”); and upon the record of the evidentiary hearings held by the Court on the Motion on

April 15, 2019 and May 14, 2019; and, after due deliberation and for the reasons stated by the

Court in its bench ruling at the hearing on May 14, 2019, good and sufficient cause appearing,

IT IS HEREBY FOUND AND DETERMINED THAT

        A.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(a)-(b)

and 1334(b) and the Amended Standing Order of Reference from the United States District Court

for the Southern District of New York, dated February 1, 2012, and this Court may enter a final

order thereon consistent with Article III of the United States Constitution;

        B.     Venue for the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409;

        C.     This is a core proceeding pursuant to 28 U.S.C. § 157(b);

        D.     The legal and factual bases set forth in the Motion and at the evidentiary hearings

on April 15, 2019 and May 14, 2019, establish good and sufficient cause exists for granting the

relief provided herein because the Debtors have demonstrated that: there exists a substantial

likelihood of success on the merits of their claim against Charter for false advertising under

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a); the Debtors and their estates and creditors

will suffer irreparable harm if a preliminary injunction is not issued; the serious and irreparable

harm to the Debtors from failure to issue a preliminary injunction far outweighs any harm to

Charter; and issuance of a preliminary injunction is in the public interest by preventing harm to




                                                  2
19-08246-rdd     Doc 61     Filed 05/16/19     Entered 05/16/19 16:00:10           Main Document
                                              Pg 3 of 11


the Debtors’ reorganization efforts and their estates and precluding additional harm under the

Lanham Act;

       E.      The legal and factual bases set forth in the Motion and at the evidentiary hearings

on April 15, 2019 and May 14, 2019 establish good and sufficient cause for granting the relief

sought by the Debtors concerning corrective advertising because the Debtors have demonstrated

that prohibiting further dissemination of the false advertisements and the Debtors’ own prior

corrective efforts are not enough to ameliorate the confusion that the advertisements caused in

the minds of the consumers; and that corrective advertisements must be disseminated now to

counteract the false impression that the advertisements necessarily created in the minds of

consumers; and

       F.      The legal and factual bases set forth in the Motion and at the evidentiary hearings

on April 15, 2019 and May 14, 2019, establish good and sufficient cause for granting the relief

sought related to the Debtors’ claim that Charter violated the automatic stay under Section 362(a)

of the Bankruptcy Code because the Debtors have demonstrated that Charter violated the

automatic stay of Section 362(a) of the Bankruptcy Code when Charter discontinued service to

Windstream customers on or about March 14, 2019, as alleged in Paragraph 32 of the Complaint,

and at least once after the issuance of the TRO.

IT IS, THEREFORE, ORDERED THAT:

       1.      Charter and each of its affiliates, and each of its and its affiliates’ respective

officers, agents, employees, and all others in active concert or participation with them shall

immediately:

               a. cease and desist from any and all discontinuation of service to Windstream

                   customers absent an order of the Court (including, without limitation, the




                                                   3
19-08246-rdd    Doc 61      Filed 05/16/19    Entered 05/16/19 16:00:10         Main Document
                                             Pg 4 of 11


                  recent discontinuation of service to a Windstream customer located in San

                  Antonio, Texas) provided pursuant to the Spectrum Business Value Added

                  Reseller Agreement, dated April 11, 2018;

               b. restore service to all Windstream customers whose service was discontinued

                  on or about March 14, 2019, as alleged in Paragraph 32 of the Complaint, to

                  the extent not already restored;

               c. cease and desist from any further action to launch the Windstream-related

                  direct mail campaign described at page 5 of Charter’s Opposition to Debtors’

                  Motion for a Temporary Restraining Order [Adv. Docket No. 12] and,

                  specifically, not to use in commerce, publish, or otherwise disseminate in any

                  and all media (including, without limitation, Internet, television, radio,

                  newspaper and other print, billboards, direct mail, telephone and as part of any

                  door-to-door campaign) the advertisement attached as Exhibit C thereto;

               d. cease and desist from using in commerce, publishing, or otherwise

                  disseminating in any and all media (including, without limitation, Internet,

                  television, radio, newspaper and other print, billboards, direct mail, telephone

                  and as part of any door-to-door campaign) the advertisements attached as

                  Exhibit 3 to the Langston Declaration in Support of the Motion [Adv. Docket

                  No. 3];

               e. cease and desist from expressly or impliedly stating in commerce, publishing,

                  or otherwise disseminating in any and all media (including, without limitation,

                  Internet, television, radio, newspaper and other print, billboards, direct mail,

                  telephone and as part of any door-to-door campaign) that Windstream is going




                                                4
19-08246-rdd    Doc 61     Filed 05/16/19    Entered 05/16/19 16:00:10          Main Document
                                            Pg 5 of 11


                  out of business, will go out of business or will terminate service to its

                  subscribers;

               f. cease and desist from expressly or impliedly stating in commerce, publishing,

                  or otherwise disseminating in any and all media (including, without limitation,

                  Internet, television, radio, newspaper and other print, billboards, direct mail,

                  telephone and as part of any door-to-door campaign) that Windstream’s

                  bankruptcy will impair or otherwise adversely impact Windstream’s ability to

                  continue to provide service to its customers;

               g. cease and desist from expressly or impliedly stating in commerce, publishing,

                  or otherwise disseminating in any and all media (including, without limitation,

                  Internet, television, radio, newspaper and other print, billboards, direct mail,

                  telephone and as part of any door to door campaign): “Windstream’s future is

                  unknown, but Spectrum is here to stay.”

               h. cease and desist from expressly or impliedly stating in commerce, publishing,

                  or otherwise disseminating in any and all media (including, without limitation,

                  Internet, television, radio, newspaper and other print, billboards, direct mail,

                  telephone and as part of any door-to-door campaign): “Goodbye, Windstream,

                  Hello Spectrum.”;

               i. cease and desist from expressly or impliedly stating in commerce, publishing,

                  or otherwise disseminating in any and all media (including, without limitation,

                  Internet, television, radio, newspaper and other print, billboards, direct mail,

                  telephone and as part of any door-to-door campaign): “Windstream

                  Customers, Don’t Risk Losing your TV and Internet Service.”;




                                                5
19-08246-rdd        Doc 61    Filed 05/16/19    Entered 05/16/19 16:00:10           Main Document
                                               Pg 6 of 11


               j. cease and desist from expressly or impliedly stating in commerce, publishing,

                     or otherwise disseminating in any and all media (including, without limitation,

                     Internet, television, radio, newspaper and other print, billboards, direct mail,

                     telephone and as part of any door-to-door campaign): “Windstream has filed

                     for Chapter 11 bankruptcy, which means uncertainty. Will they be able to

                     provide the Internet and TV services you rely on in the future? To ensure you

                     are not left without vital Internet and TV services, switch to Spectrum.”;

               k. cease and desist from expressly or impliedly stating in commerce, publishing

                     or otherwise disseminating in any and all media (including, without limitation,

                     Internet, television, radio, newspaper and other print, billboards, direct mail,

                     telephone and as part of any door-to-door campaign) that Windstream is in

                     bankruptcy or Chapter 11 as part of an effort to persuade Windstream

                     customers to switch their service to Spectrum;

               l.    cease and desist from taking any action or inaction, whether directly or

                     indirectly, to interrupt, disrupt, switch or otherwise impair service to the

                     Debtors’ customers absent an order of the Court (Paragraphs 1(c)-(k) are

                     collectively referred to as the “Prohibited Communications”).

       2.      Charter shall (a) cause a copy of this preliminary injunction to be immediately

delivered to every employee of Charter and to each person and entity to whom Charter has

directed or permitted to distribute or disseminate any Prohibited Communications; and (b) notify

each such employee, person and entity that the United States Bankruptcy Court for the Southern

District of New York has (i) ordered them to cease and desist from making all Prohibited

Communications while this preliminary injunction remains in force and effect and (ii) found that




                                                   6
19-08246-rdd     Doc 61     Filed 05/16/19    Entered 05/16/19 16:00:10          Main Document
                                             Pg 7 of 11


the communications previously made by Charter that are the subject of this preliminary

injunction were untrue and improper. For the avoidance of doubt, this preliminary injunction

shall not be sent to Windstream customers. For the further avoidance of doubt, this preliminary

injunction shall actually be provided to each of the above-described persons and they shall not

merely be provided an electronic link to it unless Charter cannot provide an actual electronic or

hard copy of the preliminary injunction to such person.

       3.      Charter shall (a) cause a copy of this preliminary injunction to be immediately

delivered to all direct sales representatives associated or affiliated with Charter and/or Spectrum;

and (b) direct all such direct sales representatives that the United States Bankruptcy Court for the

Southern District of New York has ordered them to cease and desist from making any Prohibited

Communications while this preliminary injunction remains in force and effect.

       4.      Charter’s counsel has personally represented to the Court that the service of all

Windstream customers whose service was discontinued on or about March 14, 2019, as alleged

in Paragraph 32 of the Complaint, has been fully restored and that no such discontinuation of

service to any Windstream customers will occur again for the duration of the Chapter 11 cases.

It is acknowledged that service to a Windstream customer nevertheless was disconnected after

entry of the TRO on April 16, 2019. Windstream has also alleged that Charter has failed to

comply with the TRO by telling Windstream customers during a new door-to-door campaign that

Windstream is going out of business and that their internet and phone service will be

discontinued if they do not switch to Charter. In light of the foregoing, Windstream is authorized

to submit to the Court for issuance a show cause order directed to Charter as to why Charter

should not be held in contempt for violation of the TRO and/or sanctions for violation of the

automatic stay of Bankruptcy Code section 362(a).




                                                 7
19-08246-rdd     Doc 61     Filed 05/16/19    Entered 05/16/19 16:00:10          Main Document
                                             Pg 8 of 11


       5.      Charter has represented to the Court that it has provided the Debtors with a

complete list of every person or entity to whom Charter mailed the advertisements that are the

subject of this preliminary injunction and that such list included both the full customer name and

address, where such information is in Charter’s possession. After reviewing this list, the

Debtors may report any deficiencies to Charter, and Charter shall remedy any such deficiencies

within five (5) business days. For the avoidance of doubt, “deficiencies” in the foregoing

sentence shall mean the failure to include persons or entities to whom Charter mailed the

advertisements that are the subject of this preliminary injunction and/or the failure to provide

customer name and address information related to those advertisements and in Charter’s

possession.

       6.      The Debtors are authorized to send a letter via postage pre-paid, first class United

States mail, substantially in the form attached hereto as Appendix I (the “Proposed Letter”), to

each Windstream customer who received an advertisement that is the subject of this preliminary

injunction. Charter is ordered to pay the reasonable costs incurred by Windstream in connection

with preparing and mailing the Proposed Letter.

       7.      To protect Charter from damages proximately caused by its compliance with the

prior decretal paragraph, Charter shall be allowed, solely in the event that Charter prevails on its

defense of the claims asserted by Windstream giving rise to such requirement, an administrative

expense claim under 11 U.S.C. § 507(a)(2) against the Debtors in the amount of such costs

incurred; provided, that nothing herein shall alter or conflict with the Court’s orders authorizing

debtor in possession financing and use of cash collateral in these cases. Pursuant to Bankruptcy

Rule 7065, the security provisions of Rule 65(c) of the Federal Rules of Civil Procedure are

otherwise waived.




                                                  8
19-08246-rdd     Doc 61     Filed 05/16/19     Entered 05/16/19 16:00:10          Main Document
                                              Pg 9 of 11


       8.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

preliminary injunction are immediately effective and enforceable upon its entry. The Debtors are

authorized to take all actions necessary to effectuate the relief granted in this preliminary

injunction.

       9.      Good and sufficient service of this preliminary injunction shall be made if the

Debtors have, on or before May 16, 2019, sent this preliminary injunction signed by the Court,

by hand-delivery or e-mail to: (a) the entities on the Master Service List (as defined in the Case

Management Order and available on the Debtors’ case website at www.kccllc.net/windstream)

and (b) any person or entity with a particularized interest in the subject matter of this preliminary

injunction, such that papers are actually received by no later than May 21, 2019.

       10.     Good and sufficient cause exists such that this preliminary injunction shall remain

in full force and effect until the conclusion of this Adversary Proceeding.

       11.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this preliminary injunction.


 Dated: May 16, 2019                                  /s/Robert D. Drain
        White Plains, NY                               THE HONORABLE ROBERT D. DRAIN
                                                       UNITED STATES BANKRUPTCY JUDGE




                                                  9
19-08246-rdd   Doc 61   Filed 05/16/19 Entered 05/16/19 16:00:10   Main Document
                                      Pg 10 of 11


                                    Appendix I

                                  Proposed Letter
19-08246-rdd     Doc 61      Filed 05/16/19 Entered 05/16/19 16:00:10              Main Document
                                           Pg 11 of 11




                                 [WINDSTREAM LETTERHEAD]


May [ ], 2019


Customer Name
Address
City, State


Dear [name]:

               Recently you may have received an envelope in the mail, which said, “Important
Information Enclosed for Windstream Customers” and which contained an advertisement, which said
“Windstream Customers, Don’t Risk Losing Your Internet and TV Services” or “Now is the time to switch
to Spectrum.”

                You may have thought that the envelope and advertisement were sent by Windstream. It
was not sent by Windstream. The envelope and advertisement were both sent by a competitor.

                After reading the advertisement, you may also have thought that Windstream is going out
of business or will no longer be able to provide service to you. A federal court has now ruled that the
advertisement sent to you by a competitor was untrue and improper. The federal court has also reviewed
and approved this letter and directed the competitor to pay for sending it to you.

                 Windstream continues to operate and provide service to its customers. We regret any
confusion that this competitor’s untrue and improper conduct may have caused you.


                                                               Sincerely,


                                                               Name:
                                                               Title:
